      Case 3:16-cr-01945-WQH      Document 30      Filed 10/24/16   PageID.41   Page 1 of 1
                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                             '-1 Ll:. L
                                                         Case No.    ,rdef2~WRfIl: 31
                                      Plaintiff,
                      vs.
                                                         JUDG~w:r-OF DI8MIS~Jrr
Tatiana Nohemi Rendon-Palafox



                                    Defendant.

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

x     the Court has granted the motion of the Government for dismissal, without prejudice; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

 x    of the offense(s) as charged in the Information:

      21 :952.960. 963: 18:2


             IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.



                                                   Hon.J£d~~
 Dated: 10/24/2016


                                                   United States Magistrate Judge
